                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                              Plaintiff,

               v.                                           Case No. 06-CR-336

GABRIEL URBINA, et. al.,

                              Defendants.



   RECOMMENDATIONS REGARDING THE DEFENDANTS’ PRETRIAL
                       MOTIONS


       This complex, twenty-four defendant, cocaine distribution conspiracy case began by way of

a criminal complaint on November 29, 2006. (Docket No. 1.) On December 14, 2006, the grand

jury returned a sixteen count indictment alleging in count one that all defendants conspired to

distribute more than five kilograms of cocaine, in violation of Title 21, United States Code, Section

841(a)(1). (Docket No. 60 at 1-2.) The remaining counts allege various violations of the controlled

substances laws. (Docket No. 60 at 4-18.) Also included in the indictment was a notice of forfeiture.

(Docket No. 60 at 19.)

       This case was designated as complex pursuant to the district’s local rules, and on January

17, 2007, the court held a status conference to discuss the dissemination of discovery and further

scheduling in this matter. (Docket Nos. 150; 156.) The court ordered the establishment of a

Discovery Coordinating Committee (“DCC”) (Docket No. 150), which met with the court on

February 20, 2007 to discuss an appropriate motion and briefing schedule in this case, (Docket Nos.

188; 190.) The court ordered all “non-evidentiary” motions to be filed no later than June 1, 2007,

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and “evidentiary” motions and motions relating to Title III matters to be filed no later than August

1, 2007. (Docket No. 190.) Non-evidentiary motions are those that can be resolved without the need

for an evidentiary hearing. Evidentiary motions are those for which a hearing is requested in order

to resolve the motion.

        Various defendants filed non-evidentiary motions, which were resolved by this court on July

31, 2007. (Docket No. 275.) Therefore, this recommendation deals with the evidentiary and Title III

motions filed by the defendants.

        In accordance with this court’s pretrial order, Brijido Aguilera filed a motion to suppress,

(Docket No. 278), Leonardo Urbina filed a motion to suppress Title III evidence, (Docket No. 286),

Jose R. Quinonez filed a motion to suppress Title III evidence, (Docket No. 284), Miguel A. Valdez

filed a motion to suppress cell phone contents, (Docket No. 281), Sean D. Kruschke filed a motion

to suppress his statement, (Docket No. 277), and Jonathan David Colla filed a motion to suppress

evidence as the result of an unlawful arrest, (Docket No. 279).

        Only Miguel A. Valdez, (Docket No. 281), Sean D. Kruschke, (Docket No. 277), and

Jonathan David Colla, (Docket No. 279), requested evidentiary hearings. On August 10, 2007, the

government responded to the defendants’ requests for evidentiary hearings. (Docket No. 293.) On

August 13, 2007, this court granted Miguel A. Valdez’s and Sean D. Kruschke’s requests for

evidentiary hearings but denied Jonathan David Colla’s request. (Docket No. 294.) On August 31,

2007, the government filed a response to the substance of the defendants’ motions. (Docket No.

300.)

        Evidentiary hearings were conducted on September 24, 2007 and October 18, 2007. A

summary of the evidence adduced at those hearings is set forth below. The pleadings on the

defendants’ motions are closed and the matters are ready for resolution. The Honorable Lynn

Adelman has yet to set a trial date in this matter.

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MOTIONS FOR WHICH AN EVIDENTIARY HEARING WAS NOT CONDUCTED

Jonathan David Colla

       Jonathan David Colla alleges that the affidavit in support of the warrant upon which he was

arrested did not set forth probable cause and therefore his arrest was without a lawful basis.

Specifically, Jonathan David Colla alleges that (1) the allegations in the affidavit are conclusory

and thus did not permit the issuing judicial office to independently determine whether there was

probable cause for the arrest; and (2) the affidavit dose not provide any basis as to why the affiant

believed Jonathan David Colla was a participant in the intercepted conversations where cocaine was

allegedly discussed. (Docket No. 279-1 at 3-4.) The government responds by arguing that there was

ample probable cause set forth in the affidavit to support the arrest of Jonathan David Colla.

(Docket No. 300 at 2-4.)

       An arrest warrant shall not be issued absent probable cause. U.S. Const. amend. IV.

Probable cause is a fluid concept, United States v. McNeese, 901 F.2d 585, 592 (7th Cir. 1990),

determined by the “totality of the circumstances.” Illinois v. Gates, 462 U.S. 213, 238 (1983). The

probable cause determination of the judicial officer who issued a warrant shall be afforded great

deference and will be upset only if there was not a “substantial basis” for issuing the warrant. Gates,

462 U.S. at 236.

       As it relates to Jonathan David Colla, the affidavit in support of the complaint alleged that

he “[p]urchased cocaine from Javier (1/8 -1/4 ounce amounts).” (Docket No. 279-4 at 9.) Jonathan

David Colla is referred to in paragraph thirteen of complaint as one of twenty-two persons who

Javier Aguilera distributed cocaine to. (Docket No. 279-4 at 10-11.) Paragraphs seventy-three

through seventy-five of the complaint contain the majority of the allegations relating the Jonathan

David Colla. (Docket No. 279-4 at 35-36.) In these paragraphs, it is alleged that Jonathan David

Colla had nineteen drug related conversations with Javier Aguilera during the time that Javier

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Aguilera’s cellular telephone calls were intercepted between July 11, 2006 and August 25, 2006.

(Docket No. 279-4 at 35, ¶73.) The affidavit states “Javier Aguilera referred Colla to Aguilera’s

cousin, Christian Gabriel Martinez, a/k/a “Cordo,” in order to obtain additional amounts of cocaine.

Aguilera also used Colla to test the purity of cocaine that Aguilera had purchased on August 14,

2006.” (Docket No. 279-4 at 35, ¶73.) The affidavit also contains excerpts from calls between

Jonathan David Colla and Javier Aguilera. In one call, occurring on July 14, 2006, Jonathan David

Colla requests what the affiant knows based upon his training and experience and familiarity with

the investigation to be an eighth ounce of cocaine. (Docket No. 279-4 at 36, ¶74.) In another call on

August 12, 2006, Javier Aguilera told Jonathan David Colla that he was not available and instructed

him to call his cousin, whom the affiant knows to be Jose Aguilera. (Docket No. 279-4 at 36, ¶75.)

       The majority of allegations contained in the affidavit in support of the complaint that relate

to Jonathan David Colla are simply conclusory statements with no indication as to the affiant’s

source of knowledge to make these statements. For example, there is no indication as to what

evidence supports the conclusion that to Jonathan David Colla “[p]urchased cocaine from Javier

(1/8 -1/4 ounce amounts).” (Docket No. 279-4 at 9.) However, this conclusory statement bears little

relevance to the probable cause calculus. Most significant are the paragraphs relating to the

intercepted telephone calls between Jonathan David Colla and Javier Aguilera. The affidavit refers

to and quotes a conversation where Jonathan David Colla requests an eighth of an ounce of cocaine

from Javier Aguilera. Although Jonathan David Colla points out that the affidavit does not explain

how it was that the affiant identified Jonathan David Colla as the person talking to Javier Aguilera,

it is not necessary that the affiant include all of the facts relating to the background of the

investigation in order to establish probable cause for an individual’s arrest. Under these

circumstances, the affiant’s assertion that it was Jonathan David Colla on the phone was sufficient.

Jonathan David Colla’s request for cocaine combined with the fact that he engaged in eighteen

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other drug related conversations with Javier Aguilera during the roughly month-and-a-half that

Javier Aguiler’s phone was monitored by the government is sufficient to establish probable cause

that Jonathan David Colla was involved in the alleged cocaine distribution conspiracy. Therefore,

the court shall recommend that Jonathan David Colla’s motion to suppress, (Docket No. 279), be

denied.

Brijido Aguilera

          Brijido Aguilera seeks suppression of all evidence obtained from a camera and video

transmitter installed on a utility poll outside of his Waukesha, Wisconsin home. Brijido Aguilera

argues that such warrantless surveillance contravened the Fourth Amendment. (Docket No. 278.)

The government alleges that camera was not installed on the defendant’s property and argues that

case law establishes that the installation of such cameras is lawful under the Fourth Amendment.

(Docket No. 300 at 2.)

          The issue of the constitutionality of silent video surveillance installed by law enforcement

outside of a suspect’s residence appears to be an issue of first impression in this circuit. Research

discloses that this issue has been presented under factually analogous circumstances to only the

Tenth Circuit Court of Appeals, see United States v. Jackson, 213 F.3d 1269 (10th Cir. 2000), and

the Fifth Circuit Court of Appeals, see United States v. Cuevas-Sanchez, 821 F.2d 248 (5th Cir.

1987). Additionally, the court has identified two state courts that have addressed the issue under

analogous circumstances. See State v. Costin, 168 Vt. 175, 720 A.2d 866 (1998); State v. Holden,

964 P.2d 318 (Utah Ct. App. 1998); see also Christopher Slobogin, Public Privacy: Camera

Surveillance of Public Places and the Right to Anonymity, 72 Miss. L.J. 213, 236 n.106 (2002).

          In Cuevas-Sanchez, based upon substantial investigation, law enforcement suspected the

defendant’s residence was used in drug trafficking. 821 F.2d at 249. Therefore, the agents applied

for and received a court order authorizing the installation of a video surveillance camera atop a

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power pole enabling the agents to view the defendant’s backyard over his ten-foot-high fence. Id. at

249-50. Based upon evidence obtained from this surveillance, the defendant was arrested and

charged. Id. at 250. The Fifth Circuit held that the defendant had a reasonable expectation of

privacy to be free from such video surveillance and it was the sort of expectation that society was

prepared to recognize as reasonable. Id. at 251. Therefore, the video surveillance constituted a

search under the Fourth Amendment. Id. The Fifth Circuit then turned to the issue of whether the

court order the agents received sufficiently protected the defendant’s Fourth Amendment rights. Id.

The court recognized that video surveillance is not covered under Title III of the Omnibus Crime

Control and Safe Streets Act of 1968, 18 U.S.C. §§ 2510-2520, but held that the Title III standards

are the appropriate standards to apply when a court is determining whether to authorize such video

surveillance. Id. at 251-52. Because the order and the surveillance complied with the requirements

under Title III, the court held that the evidence could be properly used against the defendant at trial.

Id. at 252.

        In Jackson, the defendant argued that the government violated the Fourth Amendment when

it installed video cameras on telephone poles without a warrant. 213 F.3d at 1280. The court

rejected this argument, holding that the defendant did not have a reasonable expectation of privacy

in the areas observed by the surveillance cameras. Id. at 1281. The court noted that “the video

cameras installed on the telephone poles were incapable of viewing inside the houses, and were

capable of observing only what any passerby would easily have been able to observe.” Id.

        In Costin, the Supreme Court of Vermont addressed whether the police violated the

Vermont Constitution when they entered onto the defendant’s secluded rural land, observed

numerous marijuana plants growing about 150 feet behind his residence, returned to install a

camera that recorded the defendant tending to the plants, and then re-entered the property to retrieve

the camera. 168 Vt. at 175-76, 720 A.2d at 866-67. The defendant did not raise his argument under

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the United States Constitution because he conceded in his brief that “Oliver v. United States, 466

U.S. 170, 178-79 (1984), allows the police, without a warrant, ‘to electronically eavesdrop on

private activities in ‘open fields’ because this is not a constitutionally protected area.’” Id. at 177

n.2, 720 A.2d at 867. Although the argument was presented under the Vermont Constitution, the

court’s analysis is relevant to the issues presently before this court.

       The Vermont Supreme Court had little difficulty determining that the police were permitted

to enter into the “open fields” of the defendant’s thirty-acre property, id. at 177-80, 720 A.2d at

867-69, and therefore turned to the issues raised specifically by the video surveillance. The court

noted “[t]he video camera recorded only what an officer standing in the same position would have

observed with the naked eye. Thus, it is a substitute for the traditional stake-out where a law

enforcement officer conceals himself and waits to make the same observation as the video camera

would make.” Id. at 181, 270 A.2d at 870 (citation omitted). The court reasoned that the use of a

video camera is, in fact, less of an invasion of privacy than would occur if the police had chosen to

place an officer in the woods surrounding the defendant’s home because a camera has only a

limited field of view. Id. Further, the court noted that if law enforcement was not permitted to rely

upon technology such as video cameras rather than traditional manpower to accomplish the same

goals, it would be necessary to employ additional law enforcement officer and “[i]t certainly does

not advance a free society for the judiciary to require the employment of more law enforcement

personnel to properly enforce the criminal laws.” Id. The court concluded that because the police

officers’ actions did not implicate a privacy interest protected under the Vermont Constitution, no

warrant was required. Id. at 181-82, 720 A.2d at 870.

       Finally, in Holden, the Utah Court of Appeals held that the police did not violate the Fourth

Amendment when it installed a covert surveillance camera in a neighbor’s house, with the

neighbor’s permission, to record a large amount of traffic coming and going from the defendant’s

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home and the defendant’s activities outside of his house. 964 P.2d at 319-20. The court noted that

“[a]lthough it is understandable that a person may feel ‘an immediate negative visceral reaction’ to

the thought of his house constantly being monitored by videotape,” the officers in this case were

viewing by way of a camera nothing more than what was already in public view. Id. at 321 (quoting

Cuevas-Sanchez, 821 F.2d at 251). Therefore, the Fourth Amendment was not implicated. Id.

       According to Brijido Aguilera’s motion, the video camera installed by the agents “was used

to view the entry to Mr. Aguilera’s driveway.” (Docket No. 278 at 1.) The government states that

the camera “captured activity outside the front of [the defendant’s residence].” (Docket No. 300 at

2.) Investigative reports provided by the government state that “[t]he pole camera’s view captured

vehicles entering and exiting the driveway of [the defendant’s residence]. This activity was

monitored and at times recorded.” (Docket No. 293-3; see also Docket No. 293-2 (“The camera was

installed to view the entry to the driveway located at this residence in an attempt to identify

individuals coming and going from this residence.”).) Further, the government states that this

camera was installed on a telephone pole that was not located on the defendant’s property. (Docket

No. 300 at 2.)

       The Fourth Amendment protects individuals from unreasonable searches and seizures. A

defendant objecting to a particular police action on the grounds that it constitutes a search under the

Fourth Amendment bears the burden of demonstrating a legitimate expectation of privacy in the

interest invaded. United States v. French, 291 F.3d 945, 951 (7th Cir. 2002) (citing United States v.

Ruth, 65 F.3d 599, 604 (7th Cir. 1995)). A reasonable expectation of privacy consists of two

elements. Id. First, there is a subjective element where the defendant must demonstrate that he had

an actual expectation of privacy in the interest invaded. Id. Second, the expectation of privacy must

be “one that society is prepared to recognize as reasonable.” Id. (quoting Ruth, 63 F.3d at 604.)




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       “What a person knowingly exposes to the public . . . is not a subject of Fourth Amendment

protection.” California v. Greenwood, 486 U.S. 35, 41 (1988) (quoting Katz v. United States, 389

U.S. 347, 361 (1967)). The Seventh Circuit has explicitly held that an individual does not have a

reasonable expectation of privacy in his driveway absent evidence that the public access was

somehow limited. United States v. Evans, 27 F.3d 1219, 1229 (7th Cir. 1994). The expectation of

privacy in a driveway entrance, as opposed to some portion of a driveway well onto private

property, would necessarily be less given that by its very nature as the threshold between the public

realm of the street and the more private areas of a home’s curtilage, it is accessible and visible to all

persons whether they are merely curious neighbors or investigating law enforcement agents. See

French, 291 F.3d at 953-54. Further, in Greenwood, the Supreme Court has held that a person does

not have a reasonable expectation of privacy in that area where private property meets the public

street, when it held that a defendant does not have a reasonable expectation of privacy in garbage

left at the curb outside his house. 486 U.S. at 41-42.

       If the investigative agents had chosen to utilize traditional surveillance methods and parked

across the street and simply monitored the persons coming and going from the defendant’s

residence, it is unlikely that such actions would have inspired a motion to suppress; such actions are

clearly constitutional. However, such traditional surveillance methods are distinct from the

omnipresence of a covert surveillance camera. “[I]t [is] unarguable that television surveillance is

exceedingly intrusive . . . and inherently indiscriminate, and that it could be grossly abused -- to

eliminate personal privacy as understood in modern Western nations.” United States v. Torres, 751

F.2d 875, 882 (7th Cir. 1984). “This type of surveillance provokes an immediate negative visceral

reaction: indiscriminate video surveillance raises the spectre of the Orwellian state.” United States

v. Nerber, 222 F.3d 597, 602 (9th Cir. 2000) (quoting Cuevas-Sanchez, 821 F.2d at 251).




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       There are many legitimate reasons for this court and the general public to be concerned

about indiscriminate law enforcement video surveillance, particularly if it is aimed at private

homes. Turning to the specific facts of this case, those valid privacy concerns are not implicated.

The court finds that the fact that law enforcement chose to install a surveillance camera, as opposed

to utilizing more traditional surveillance techniques, does not change the result from a Fourth

Amendment perspective. Unlike the surveillance in Cuevas-Sanchez, the agents in the present case

were not surveilling anything that was not otherwise visible using traditional street-level

surveillance techniques. Here, the camera which was installed on a utility pole, was unable to view

any area where a person may have a reasonable expectation of privacy. Certainly, video cameras

installed upon utility poles have the potential to invade a person’s reasonable expectation of

privacy, as the facts in Cuevas-Sanchez demonstrate, but that was not the situation in the present

case. The video camera captured nothing more than persons coming and going from the defendant’s

residence who were otherwise exposed to public view. As such, Brijido Aguilera had no reasonable

expectation of privacy in the end of his driveway, and thus the Fourth Amendment was not

implicated by the agents’ surveillance. Therefore, the court shall recommend that Brijido Aguilera’s

motion to suppress, (Docket No. 278), be denied.

Leonardo Urbina and Jose R. Quinonez

       Leonardo Urbina and Jose R. Quinonez have both filed motions seeking the suppression of

evidence obtained by way of court-authorized wiretaps. (Docket Nos. 286; 284.) Leonardo Urbina

argues that the order that authorized the interceptions of the telephone calls was overly broad.

(Docket No. 286 at 2-3.) Jose R. Quinonez similarly argues that the orders authorizing the

interceptions were defective on their face, specifically in that the orders failed to order the

government to minimize their monitoring. (Docket No. 284.) The government responds by first

arguing that the defendants have standing to challenge only the calls to which they were a party or

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for some other reason can establish a privacy interest. (Docket No. 300 at 7.) Further, the

government argues that the defendants are unable to point to a single call that was improperly

minimized. (Docket No. 300 at 8.) Even if the defendants were to point to a particular call that they

argued was not properly minimized, the standard is one of reasonableness and thus suppression is

not appropriate because there was no unreasonable failure to minimize. (Docket No. 300 at 9.)

       Leonardo Urbina has replied, reasserting his argument that suppression is appropriate if an

order is defective on its face by failing to command minimization. (Docket No. 306.) Jose R.

Quinonez argues in reply that he has standing to challenge all calls in the wiretap order involving

Gabriel Urbina, because Jose R. Quinonez was listed in the order as a target. (Docket No. 305.)

Further, he argues suppression is appropriate because the wiretap order is overbroad on its face; he

emphasizes that he is not challenging any particular lack of minimization. (Docket No. 305.)

       On June 12, 2006, pursuant to 18 U.S.C. § 2518, the Honorable Lynn Adelman authorized

the interception of telephone conversations to and from the land line used by Federico Meza.

(Docket No. 300 at 5.) On July 11, 2006, Judge Adelman then authorized the interception of

telephone calls to and from the cellular telephone used by Javier Aguilera. (Docket No. 300 at 5.)

On August 29, 2006, Judge Adelman authorized the interception of telephone calls to and from the

cellular telephone used by Gabriel Urbina. (Docket Nos. 300 at 6; 300-2.)

       Title III of the Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C. § 2510 et

seq., includes a mandate that “[e]very order and extension thereof shall contain a provision that the

authorization to intercept . . . shall be conducted in such a way as to minimize the interception of

communication not otherwise subject to interception under this chapter . . . .” 18 U.S.C. § 2518(5).

       All orders issued in this case contain the following order regarding minimization:

       IT IS ORDERED FURTHER that all monitoring of wire communications shall be
       conducted in such a way as to minimize the interception and disclosure of the
       communications intercepted to those communications relevant to the pending

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       investigation, in accordance with the minimization requirements of Chapter 119
       of Title 18, United States Code, and, if minimized, the monitoring personnel shall
       spot check to insure that the conversation has not turned to criminal matters. Also,
       monitoring of conversations must immediately terminate when it is determined
       that the conversation is unrelated to communications subject to interception under
       Chapter 119 of Title 18, United States Code. Interception must be suspended
       immediately when it is determined through voice identification, physical
       surveillance, or otherwise, that none of the named interceptees or any of their
       confederates, when identified, are participants in the conversation unless it is
       determined during the portion of the conversation already overheard that the
       conversation is criminal in nature.


(Docket Nos. 284 at 3; 300-2 at 5.)

       The defendants argue that this portion of the order regarding minimization is overbroad in

that it permits agents to intercept calls that are merely “criminal in nature” and permits “agents to

listen to calls unrelated to the investigation at hand, so long as the conversation does not involve the

target of the wiretap and the conversation is ‘criminal in nature.’” (Docket No. 284 at 3-4.) Thus,

the defendants argue that the order is in direct conflict with 18 U.S.C. § 2510, “which requires that

the court limit the interceptions to calls relevant to the crimes specifically mentioned in the affidavit

and supported by probable cause.” (Docket No. 284 at 4.)

       In United States v. Mansoori, 304 F.3d 635 (7th Cir. 2002), the defendant argued that the

minimization requirement contained in a Title III order was defective because, like the order at

issue in the present case, the spot-check provision in the order referred broadly to “criminal

matters” rather than the specific criminal matters for which interception was authorized. Id. at 645.

Notwithstanding the fact that the court’s standard of review in Mansoori was for plain error because

the issues regarding the alleged deficiencies in the Title III order were not raised before the trial

court, Mansoori, 304 F.3d at 645, the court’s decision guides this court towards the proper

resolution of the defendants’ present motions.

       When read in context with the other terms of the wiretap orders, that language did
       not give the government license to monitor all minimized conversations for any

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       mention of criminal activity, whether related to the investigation or not. The
       orders specifically identified the type of evidence that the authorized intercepts
       were intended to capture. . . . Notwithstanding the language of the spot-check
       provision, then, the overall terms of the orders made reasonably clear that the
       government was permitted to check intercepted conversations solely for
       discussions pertinent to the government’s investigation, the nature and scope of
       which the face of the orders made clear.”


Id. at 646. Similarly, the present order sets forth the specific crime for which interception is

authorized. (Docket No. 300-2 at 1-2.) Further, the present order explicitly commands law

enforcement agents to comply with the minimization requirements set forth in Chapter 119 of Title

18. In fact, the minimization paragraph of the order being challenged by the defendants contains

the following limiting language at the beginning, “ . . . all monitoring . . . shall be conducted in such

way as to minimize the interception and disclosure of the communications intercepted to those

communications relevant to the pending investigation . . .” (emphasis added).

       The fact that the paragraph goes on to provide that agents were authorized to periodically

check if a minimized conversation had turned to “criminal matters” does not expand the agents’

authorization to intercept discussions about crimes other than those relevant to the pending

investigation as specifically referenced in other portions of the order. The defendants’ interpretation

of the order as authorizing the agents to listen to discussions of all criminal matters is unreasonable.

The order explicitly commands the agents to comply with the provisions of Chapter 119, which

limits interception to discussion of the crimes for which interception was specifically authorized by

the order. See 18 U.S.C. § 2518(4)(c).

       Similarly, the fact that order commands the agents minimize the conversation when it is

determined that a target is not a participant of the conversation “unless it is determined during the

portion of the conversation already overheard that the conversation is criminal in nature” does not




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grant the agents authority beyond that authorized under Chapter 119. The court finds nothing in this

language renders the court’s order to be insufficient on its face.

       Furthermore, if either of the defendants was able to point to a specific call that an agent

improperly intercepted based upon the agent’s misinterpretation of the court’s order, then the court

would investigate those claims upon their merits. See 18 U.S.C. § 2518(10)(a)(iii). However,

neither defendant makes any claim that the interception of any call was not made in conformity

with the court’s order. In fact, both defendants emphasize that they are not challenging any specific

lack of minimization. (Docket Nos. 305 at 1; 306 at 1-2.) Therefore, finding no reason to conclude

that the court’s order authorizing interception of telephone calls was insufficient on its face, the

court shall recommend that the defendants’ motion to suppress, (Docket Nos. 286; 284), be denied.

MOTIONS FOR WHICH AN EVIDENTIARY HEARING WAS CONDUCTED

Miguel A. Valdez

       Miguel A. Valdez (“Valdez”) seeks the suppression of the results of a search of the contents

of his cell phone. (Docket No. 281). Based upon the case law presented by the defendant and the

government in their pleadings regarding the defendant’s request for an evidentiary hearing, the

court determined that the question of when precisely the search of the defendant’s cell phone

occurred is crucial. (Docket No. 294 at 3.) Further, the court noted that the parties failed to present

any case from the Seventh Circuit that squarely addressed the issue raised by the defendant’s

motion. (Docket No. 294 at 3.) Therefore, the court granted the defendant’s request for an

evidentiary hearing. A hearing was conducted on September 24, 2007 and the court ordered the

parties to submit any particularly relevant case citations by letter no later than September 28, 2007.

The pleadings on the defendant’s motion are closed and the matter is ready for resolution.




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       Evidentiary Hearing Summary

       The court received testimony of only one witness, Waukesha County Sheriff Detective

Robert Brenner (“Detective Brenner”). On December 3, 2006, Detective Brenner was assigned the

Waukesha Metro Drug Unit and was a federally deputized task force agent with the Drug

Enforcement Administration. As part of these assignments, Detective Brenner was investigating the

cocaine conspiracy that is alleged in the indictment in this case and was involved in monitoring the

court authorized wiretaps. However, Detective Brenner was not the affiant for any of the

applications for intercepts.

       On the morning of December 3, 2006, armed with an arrest warrant for Valdez, Detective

Brenner and his partner, City of Waukesha Detective Eileen Micklitz (“Detective Micklitz”) went

to Valdez’s residence. At his residence, the detectives made contact with Valdez and informed him

that they had a warrant for his arrest. Valdez was cooperative and Detective Brenner placed Valdez

in handcuffs. Incident to arrest, Detective Brenner searched Valdez and recovered a cell phone.

Detective Brenner handed this phone to Detective Micklitz as he finished searching Valdez. Upon

completing his search of Valdez, approximately one minute after he initially recovered the phone,

Detective Brenner retrieved the phone from Detective Micklitz, immediately opened the phone and

viewed the phone’s address book and call history. In particular, Brenner said he was looking for the

defendant’s phone number and that of Gabriel Urbina. Detective Brenner did not listen to any

voicemails. The detectives then asked Valdez’s girlfriend, who was also present at the residence

along with children, for consent to search the residence, which she granted. Detective Brenner does

not recall recovering any items from the residence.

       The detectives then waited approximately fifteen minutes for another police car to arrive to

transport Valdez. Detective Brenner does not recall if Valdez was transported to the Waukesha

Police Department or the Waukesha County Sheriff’s Department. Detective Brenner inventoried

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the cell phone and it was then transferred to the car of the evidence custodian. Detective Brenner

did not write a report relating to his search of the phone but he conveyed the information that he

learned from the search of the phone to Detective Micklitz and she wrote a report. A copy of this

report was received by stipulation of the parties as Exhibit 1.

       At roughly 5 P.M., Detective Brenner again met with Valdez. Valdez was advised of his

Miranda rights, which he agreed to waive, and an interrogation proceeded. During this interrogation

Detective Brenner asked Valdez about his contacts with Gabriel Urbina. Based upon the wiretaps

and Detective Brenner’s review of the call history in Valdez’s cell phone, Detective Brenner knew

that Valdez had been in contact with Gabriel Urbina.

       Detective Brenner did not talk to Valdez until 5 P.M., despite the fact that Valdez was

arrested at roughly 11 A.M., because during this time Detective Brenner was executing other

warrants related to this case.

       Detective Brenner testified that he immediately searched the phone because he was

concerned that the information contained in the phone, such as the call history and the address

book, could be erased. Detective Brenner testified that he regularly receives alerts from other drug

investigators and recalls an alert that US Cellular enables customers to remotely delete all of the

information contained on their phones, including call history and address book. Valdez had a US

Cellular phone. However, Detective Brenner does not recall if he received this alert regarding the

vulnerability of information on US Cellular phones before or after he searched Valdez’s phone on

December 3, 2006.

       Analysis

       Incident to a lawful arrest, a law enforcement officer is authorized to search an arrestee’s

person and the areas within the arrestee’s immediate control for weapons or evidence. Michigan v.

DeFillippo, 443 U.S. 31, 35 (1979) (citing United States v. Robinson, 414 U.S. 218, 235 (1973));

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United States v. Griffith, 537 F.2d 900, 902 (7th Cir. 1976). A search incident to arrest may include

the search of containers. See, e.g., United States v. Robinson, 414 U.S. 218, 235-36 (1973)

(upholding the search of a crumpled cigarette package); United States v. Molinaro, 877 F.2d 1341,

1346-47 (7th Cir. 1989) (upholding search of wallet); United States v. Rodriguez, 995 F.2d 776,

778 (7th Cir. 1993) (upholding the search and photocopying of defendant’s address).

       The Seventh Circuit, relying upon United States v. Chan, 830 F. Supp. 531, 533 (N.D. Cal.

1993), analogized a pager to a container and determined that a police officer’s search of a pager

incident to arrest did not violate a defendant’s rights under the Fourth Amendment. United States v.

Ortiz, 84 F.3d 977, 984 (7th Cir. 1996). Further, the court noted that an immediate search was

necessary in order to effectively preserve the information contained on the pager because of the

pager’s finite electronic memory and the fact that each incoming page may destroy a stored

telephone number. Id. Further, the court recognized that the data could be easily destroyed either by

the unit losing power or simply touching a button. Id.

       The court has been unable to locate any case wherein the Seventh Circuit has addressed the

specific issue of a search of a cell phone incident to arrest. However, at least one district court

within this circuit, the Northern District of Illinois, has addressed the propriety of a law

enforcement officer’s search of a cell phone incident to arrest. In United States v. Cote, 2005 U.S.

Dist. LEXIS 11725 (N.D. Ill. 2005), the court analogized a cell phone to a wallet or an address book

and therefore upheld the an FBI agent’s search of a cell phone’s call log, phone book, and wireless

web inbox, as a valid search incident to arrest. Id. at 19-20.

       Outside the circuit, this issue has been squarely addressed by other district courts and at

least one circuit court of appeals. Recently, the Fifth Circuit addressed the issue in United States v.

Finley, 477 F.3d 250 (5th Cir. 2007). Relying in part upon Ortiz, the court analogized a cell phone

to a closed container and held that the recovery of the call records and text messages stored on the

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defendant’s phone was authorized by virtue of the defendant’s arrest. Id. at 260. The court held that

the fact that the search occurred after the defendant was transported from the scene of his arrest to a

second location did not affect the analysis, because the cell phone, as an object found on his person

at the time of his arrest, was immediately associated with his person. Id. at 260 n.7 (quoting United

States v. Chadwick, 433 U.S. 1, 15 (1977)).

       In United States v. Zamora, 2005 U.S. Dist. LEXIS 40775 (N.D. Ga. 2005), relying in part

upon Ortiz, the Magistrate Judge recommended that the search of the defendants’ cell phones as a

valid search incident to arrest be upheld because “the contents of the cell phones can be altered by

each incoming call or by other events beyond the agent's control creating an exigency to conduct

the search before the cell phone memory is altered.” Id. at 32. Based upon these reasons, the

District Judge adopted the Magistrate Judge’s recommendation. 2006 U.S. Dist. LEXIS 8196.

       Despite the fact that seemingly few courts have addressed this issue, there have been three

separate cases out of the District of Kansas that have addressed the issue of a search of a cell phone

incident to arrest. In all of these cases, the court upheld the search of the defendant’s cell phone

incident to arrest. In United States v. Espinoza, 2007 U.S. Dist. LEXIS 25263 (D. Kan. 2007),

incident to the defendant’s arrest on drug charges, a state trooper did not simply search but rather

downloaded the contents of the defendant’s cell phone. Id. at 5. Relying in party upon Ortiz, the

court found that the same exigencies that courts have relied upon to justify the searches of pagers

justified the trooper’s actions in downloading the cell phone data. Id. at 20.

       In United States v. Mercado-Nava, 486 F. Supp. 2d 1271 (D. Kan. 2007), again relying part

upon Ortiz, the court found that law enforcement’s interest in preventing the destruction of

evidence justified the warrantless search of the defendant’s cell phone incident to arrest. Id. at

1278-79.




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        Finally, in United States v. Parada, 289 F. Supp. 2d 1291 (D. Kan. 2003), again relying the

rationale that data contained in a cell phone may be easily lost, the court upheld the search of

defendant’s cell phone incident to arrest and retrieval of stored telephone numbers. Id. at 1304.

        Although the great weight of authority indicates that a warrantless search of a cell phone is

permitted under the Fourth Amendment as a search incident to arrest, at least one district court has

held otherwise. In United States v. Park, 2007 U.S. Dist. LEXIS 40596 (N.D. Cal. 2007), the court

noted that

        modern cellular phones have the capacity for storing immense amounts of private
        information. Unlike pagers or address books, modern cell phones record incoming
        and outgoing calls, and can also contain address books, calendars, voice and text
        messages, email, video and pictures. Individuals can store highly personal
        information on their cell phones, and can record their most private thoughts and
        conversations on their cell phones through email and text, voice and instant
        messages.


Id. at 21-22.

        The court further noted “that that the line between cell phones and personal computers has

grown increasingly blurry” and therefore raised the concern that permitting the warrantless search

of a cell phone incident to arrest might open the door to warrantless searches of personal computer

based upon the same rationale. Id. at 23. The court distinguished Chan and Ortiz, cases involving

pagers, on the basis that the privacy interests invaded were less significant than those potentially

invaded in the search of a cell phone. Id. at 27. Because the court found that the officers’ search of

the cell phone was not motivated out of a concern for officer safety, or to prevent the concealment

or destruction of evidence, but rather was purely investigatory, the court concluded that the

government had not met its burden of demonstrating a valid exception to the warrant requirement.

Therefore, the court granted the defendant’s motion to suppress. Id. at 33.




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       Park is readily distinguishable from the present case. Even though he was looking for

specific numbers, Detective Brenner’s motives were not purely investigatory. The testimony of

Detective Brenner makes clear that he searched Valdez’s cell phone immediately after Valdez’s

arrest out of a concern that failure to do so would result in the loss of data of evidentiary value. He

was trying to preserve evidence.

       The court is mindful that cell phones have the capacity to store large amounts of personal

information, but so too do wallets, personal address books, or any number of containers that courts

have repeatedly held law enforcement are permitted to search incident to an arrest. See, e.g., United

States v. Garcia, 605 F.2d 349, 355 (7th Cir. 1979) (discussing that a search of “a wallet, purse or

shoulder bag” is permitted as a search incident to arrest) (citing cases). Photos of friends and

family, personal correspondence, and names and addresses of associates that may have once been

carried by a person in his wallet or personal address book may now be carried electronically on an

individual’s cell phone. The Seventh Circuit has upheld the search of an arrestee’s wallet, Molinaro,

877 F.2d at 1346-47, and personal address book, Rodriguez, 995 F.2d at 778, as valid searches

incident to arrest. In this regard this court considers a cell phone as analogous to these containers.

But obviously, a cell phone has the capacity to contain more information than would either a wallet

or an address book. For example, generally, only a cell phone contains a record of all calls placed

and received. And in this regard, a search of a cell phone may be seen as constituting a more

substantial invasion of an arrestee’s privacy.

       However, countervailing this increased privacy interest is the increased vulnerability of the

data contained on a cell phone. Unlike physical effects like the contents of a wallet or an address

book, which can be easily safeguarded as a warrant is obtained, the contents of a cell phone may be

easily deleted, either by the replacement of old data with new, a mistaken push of a button, a loss of

power, or even remotely by a person contacting the cell phone provider. It is primarily for this

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reason, the fact that the data contained on a cell phone is vulnerable to loss if not promptly

searched, that this court concludes that in this case, the search of a cell phone was permitted as a

search incident to arrest.

       Notwithstanding the foregoing conclusion, the court acknowledges the observations by the

court in Park that the line between a cell phone and a personal computer is becoming increasingly

blurred. Many cell phones are capable of browsing the internet or sending and receiving email just

like a personal computer. Certainly, there may be many instances where the text of emails sent and

received, or a list of the websites a person visited, may be of interest to law enforcement. However,

whether or not law enforcement may be permitted to access these records by virtue of the fact that

an arrestee happened to have his cell phone on his person at the time he was arrested is a question

not presented in this case. In the case before this court, it is clear that Detective Brenner limited his

search to the phone’s address book and call history. If the evidence in a future case were to show

that the warrantless search conducted by law enforcement was essentially equivalent to a search of

a personal computer, without sufficient exigencies to justify such a search, the court’s reaction may

be different, because of the substantial invasion of privacy. Nonetheless, it is a question the court

need not concern itself with now.

       Technology continues to evolve at an ever increasing pace, but the court does not regard the

invasion of privacy that occurred in the present case to be significantly different than that

authorized by the Seventh Circuit is Ortiz, 84 F.3d at 984. Therefore, the court shall recommend

Valdez’s motion to suppress, (Docket No. 281), be denied.

Sean D. Kruschke

       Sean D. Kruschke (“Kruschke”) alleges that when he was in custody, he did not knowingly

and intelligently waive his Miranda rights when he made custodial statements following his arrest,

and therefore his statements should be suppressed. (Docket No. 277.) The court conducted an

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evidentiary hearing on the defendant’s motion to suppress on October 18, 2007. Following the

hearing, the court ordered that parties to submit any particularly relevant case citations to the court

in the form of a letter no later than October 24, 2007. The government, (Docket No. 319), and the

defendant, (Docket No. 320), have filed responses. The pleadings on the defendant’s motion to

suppress are closed and the matter is ready for resolution.

       Evidentiary Hearing Summary

       The government called two witnesses, Waukesha County Sheriff Detective Robert Brenner

(“Detective Brenner”) and DEA Special Agent Randy Furmack (“Special Agent Furmack”). The

defendant testified on his own behalf and the government called Detective Brenner in rebuttal.

               Detective Brenner

       On December 6, 2006, Detective Brenner was assigned to arrest Kruschke at his place of

employment in Waukesha, Wisconsin. At approximately 4:45 PM, according to Detective

Brenner’s report which was received as Exhibit B, upon observing Kruschke approaching his

vehicle, Detective Brenner, Special Agent Furmack, and another detective, approached Kruschke

and arrested him without incident. Detective Brenner and Special Agent Furmack were both in plain

clothes. Detective Brenner had a firearm on his belt, but it was concealed under his un-tucked shirt.

They transported Kruschke to the Waukesha County Sheriff’s Department and upon finding all the

interview rooms occupied, took Kruschke into the roll call room. Detective Brenner described this

as a large conference style room where deputies assemble before going out on patrol.

       Kruschke’s handcuffs were removed and Detective Brenner began to complete the form

received as Exhibit A. Detective Brenner asked Kruschke basic biographical questions to complete

the top portion of the form, and then he asked Kruschke the following seven questions which serve

as an explanation of a person’s Miranda rights. After each question, Kruschke responded “Yes,”

indicating that he understood the stated right, and Detective Brenner recorded Kruschke’s response

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next to each question. The space next to question eight, which states, “Understanding these rights,

do you wish to make a voluntary statement,” is left blank. Detective Brenner testified that it was his

standard practice not to ask this question. Sometime subsequent to Kruschke’s arrest, Detective

Brenner has reformed his practice after being told by a Waukesha County Assistant District

Attorney that he should ask all questions on the form.

       Upon completing the form, and obtaining Kruschke’s signature at the bottom, Detective

Brenner began asking Kruschke questions relating to his involvement in the cocaine distribution

conspiracy alleged in the indictment. Detective Brenner described this as relaxed open dialog. He

testified that this was not an information-gathering conversation because he essentially knew all the

answers to the questions he was asking based upon his prior investigation. At no time were any

threats made to Kruschke. Detective Brenner believes that Kruschke may have asked to use the

bathroom and may have used his cell phone. Although Detective Brenner does not specifically

recall doing so, he testified that he may have picked up Kruschke’s cell phone and looked through

its address book and identified Javier Aguilera’s phone number. Detective Brenner believes that

Kruschke’s statements were voluntary because of the overall circumstances of the interrogation.

Specifically, the character of the room was casual, in that it was large and open with persons

coming and going occasionally, Brenner was in plain clothes, no weapons were drawn, and the

entire interrogation was conversational rather than confrontational. Further, at no point did

Kruschke ever assert any of his constitutional rights.

               Special Agent Furmack

       Special Agent Furmack was present with Detective Brenner from the point of Kruschke’s

arrest and through his interrogation. He recalls Detective Brenner completing Exhibit A with

Kruschke and heard Detective Brenner ask Kruschke questions one through seven. In response to

each question, Kruschke responded, “Yes.” However, Special Agent Furmack does not specifically

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recall seeing Kruschke sign Exhibit A. At no point were any threats or promised made, and

Kruschke never invoked any of his constitutional rights. At no point were weapons drawn. Special

Agent Furmack does not recall Kruschke making any requests during the interview but may have

asked for something to drink. Kruschke also may have made phone calls. Throughout the interview,

Kruschke was calm and relaxed and did not appear anxious or scared. He did not hesitate to make a

statement and the interview was conversational. In Special Agent Furmack’s recollection, the entire

interview was short, perhaps an hour in length.

               Sean Kruschke

       On December 6, 2006, Kruschke returned to his place of employment in a work truck, got

out, and was getting into his own vehicle, when Detective Brenner and Special Agent Furmack

approached him. They asked if he was Sean Kruschke, and when he responded that he was, he was

told that he was under arrest. He was searched and then Detective Brenner and Special Agent

Furmack identified themselves. At first he was not told why he was arrested, but later at the station

he was told that he was arrested as part of a federal drug conspiracy.

       He was taken to a large empty room and his handcuffs removed. Detective Brenner then

asked him the information to complete the top portion of Exhibit A. At this point, another law

enforcement officer left with Exhibit A and then five minutes later returned with a pack of papers.

Kruschke does not recall if this unknown officer returned with Exhibit A.

       As soon as he got to the Sheriff’s Department, Detective Brenner retrieved Kruschke’s cell

phone and scrolled through its address book and upon coming to Javier Aguilera’s cell phone

number said, “Bingo. We got one number.” Kruschke used to work with Javier Aguilera. Kruschke

also testified that “in the beginning” he asked for permission to call his boss and girlfriend and he

was allowed to make both calls.




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        Kruschke proceeded to talk to Detective Brenner about the subject of his investigation.

During this conversation he was calm and he testified that he made all his statements voluntarily.

However, Kruschke testified that he did not understand that his statements would be used against

him.

        Toward the last twenty minutes of their conversation, Detective Brenner then asked him the

questions on Exhibit A explaining Kruschke’s constitutional rights. In response to each question,

Kruschke responded, “Yes” but when asked the question if he wanted to make a statement in

writing, Kruschke said “No” because he had already given a statement. The overall interrogation

lasted about one hour.

        Kruschke testified that as Detective Brenner went through the top portion of Exhibit A,

Detective Brenner asked Kruschke “Do you want to be on the front of the train or the back of the

train?” which Kruschke understood to mean that Kruschke should tell him what he knew. Kruschke

then said that Detective Brenner made this statement “in the beginning,” “right before” he was read

his rights.

        Kruschke testified that he signed the Exhibit A at about 5:45 P.M., which was before he

made his phone calls. Then, in response to his attorney’s request for clarification, Kruschke stated

that he made his phone calls at the end of the interrogation. Although Kruschke knew that he could

have an attorney present, he did not request one because he did not think he was in trouble.

Kruschke was never threatened and he never asked to use the restroom.

        Kruschke testified that if he had been advised of his constitutional rights before he gave his

statement he “might have” gone on to make the same statement. Later, he testified that if he was

advised of his constitutional rights first, he would not have made his statement. Additionally,

Kruschke testified that he is familiar with the interrogation process, including being advised of his

rights, on account of the fact that he has been subjected to custodial interrogation on six or seven

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prior occasions. Finally, Kruschke testified that although he was not advised of his rights until after

he made his statement, the statement he made was nonetheless voluntary.

       Analysis

       “If a person is in custody, law enforcement officers may not interrogate him unless they

have told the person that he has the right to remain silent, that any statement he makes may be used

against him, and that he has the right to an attorney, either retained or appointed.” United States v.

James, 113 F.3d 721, 726 (7th Cir. 1997) (citing Miranda v. Arizona, 384 U.S. 436, 444 (1966)). It

is undisputed that Kruschke was in custody and subjected to interrogation. It is further undisputed

that Kruschke was advised of his Miranda rights. The crucial factual dispute is when Kruschke was

advised these rights. Detective Brenner and Special Agent Furmack allege that Kruschke was

advised of his rights prior to Kruschke making any statement; Kruschke alleges that he made a

statement before he was advised of his rights. Kruschke further alleges that he was then asked if he

wanted to make a written statement.

       In Missouri v. Seibert, 542 U.S. 600 (2004), the Supreme Court referred to the scenario

Kruschke describes as the “question-first” interrogation technique. In disapproving this technique, a

plurality of the Court described the “question-first” technique as a situation where a suspect is first

interrogated without the benefit of the Miranda warnings and upon providing an incriminating

statement, is informed of his rights and then re-interrogated and confronted with the facts provided

in his earlier statement. Id. at 609-11. However, based upon Kruschke’s testimony, the “question-

first” technique was unsuccessful in this instance, and rather than giving a statement upon being

advised of his rights, he refused.

       While Seibert discusses the scenario Kruschke described, the court does not find that it

occurred in this case. This is because the court does not find Kruschke’s testimony that he was not

read his rights until after he made his statements credible. Kruschke’s testimony was inconsistent

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and contradictory and amidst these contradictions, Kruschke confirmed Detective Brenner and

Special Agent Furmack’s version of events. First, and most significantly, Kruschke testified that

Detective Brenner asked the question, “Do you want to be on the front of the train or the back of the

train?” “in the beginning,” “right before” he was read his rights. This confirms Detective Brenner

and Special Agent Furmack’s testimony that Kruschke was advised of his rights prior to any

questioning.

       Second, Kruschke initially testified on direct examination that he made his phone calls “in

the beginning,” but then he later testified on direct that these calls were made at the end of the

conversation, specifically after he signed Exhibit A. He said that he signed Exhibit A at 5:45 p.m.

Exhibit A shows that the interrogation started at 5:20 p.m. Based upon Kruschke’s testimony the

interview lasted about one hour, so the time he signed Exhibit A and made his phone calls would be

“in the beginning.” In that regard, Kruschke’s testimony is consistent with that of Detective Brenner

and Special Agent Furmack with respect to the fact that Kruschke was advised of his rights prior to

any questioning.

       Finally, on cross-examination Kruschke testified that after being advised of his rights he did

wish to make a statement, but on redirect he testified his answer was “No.”

       The court finds that Kruschke’s material inconsistencies and contradictions during his brief

testimony undermine his credibility. The court finds the testimony of Detective Brenner and Special

Agent Furmack to be more credible and therefore concludes that Kruschke was advised of his

Miranda rights by way of Detective Brenner reading the first seven questions contained on Exhibit

A and then proceeding to interrogate Kruschke. Based upon the totality of the circumstances and

most significantly, Kruschke’s own admission, the court finds Kruschke’s waiver of rights and his

subsequent statement were voluntary. Therefore, the court shall recommend that Kruschke’s motion

to suppress his statement be denied.

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CONCLUSION

        For the reasons set forth above, the court now enters the following recommendations on the

defendants’ motions:

        IT IS THEREFORE RECOMMENDED that Jonathan David Colla’s motion to suppress,

(Docket No. 279), be denied.

        IT IS FURTHER RECOMMENDED that Brijido Aguilera’s motion to suppress, (Docket

No. 278), be denied.

        IT IS FURTHER RECOMMENDED that Leonardo Urbina’s motion to suppress, (Docket

No. 286), be denied.

        IT IS FURTHER RECOMMENDED that Jose R. Quinonez’s motion to suppress, (Docket

No. 284), be denied.

        IT IS FURTHER RECOMMENDED that Miguel A. Valdez’s motion to suppress,

(Docket No. 281), be denied.

        IT IS FURTHER RECOMMENDED that Sean D. Kruschke’s motion to suppress

statements, (Docket No. 277), be denied.

        Your attention is directed to 28 U.S.C. § 636(b)(1)(B) and (C) and General Local Rule 72.3

(E.D. Wis.), whereby written objections to any recommendation herein or part thereof may be filed

within ten days of service of this recommendation. Objections are to be filed in accordance with

the Eastern District of Wisconsin's electronic case filing procedures. Courtesy paper copies of any

objections shall be sent directly to the chambers of the district judge assigned to the case. Failure to

file a timely objection with the district court shall result in a waiver of your right to appeal.

        Dated at Milwaukee, Wisconsin this 6th day of November, 2007.


                                                        s/AARON E. GOODSTEIN
                                                        U.S. Magistrate Judge

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